1                                                                       Honorable Timothy W. Dore
                                                               Hearing date: May 10, 2019; 9:30 a.m.
2                                    Hearing Place: Room 8106, 700 Stewart Street, Seattle, WA 98101
                                                        Responses due by: May 3, 2019; by 4:30 p.m.
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                      IN THE UNITED STATES BANKRUPTCY COURT FOR THE
8                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE

9    In re:                                            )   Chapter 7
                                                       )   Bankruptcy No. 17-14525
10   SUMMIT TEXAS CLEAN ENERGY LLC,                    )
                                                       )   TRUSTEE’S MOTION FOR AN ORDER
11                   Debtor(s).                        )   OF SALE OF REAL PROPERTY OF THE
                                                       )   ESTATE FREE AND CLEAR OF LIENS
12                                                     )   AND ENCUMBRANCES

13            COMES NOW the duly appointed trustee, Nancy James, through counsel, The Livesey Law

14   Firm, and Rory C. Livesey, and moves this court for an order authorizing the sale of the bankruptcy

15   estate’s interest in certain real property located in Ector County, Texas.

16            The debtor’s schedules list six parcels of real property located in Ector County, Texas. The

17   largest parcel, called the Reverter Tract, consists of approximately 600 acres. See Declaration of

18   Rory C. Livesey. That property was acquired through an agreement with the Odessa Development

19   Corporation (“ODC”). Under the terms of the agreement with ODC, the property would revert to

20   Odessa Industrial Development Corporation (“OIDC”) if the debtor did not achieve financial closing

21   of its coal gasification operation on or before December 31, 2017. The debtor did not meet its

22   objectives and the trustee believes that the property did, indeed, revert to OIDC.        Under the

23   agreement the debtor could have paid ODC $480,000 and retained the property, but the bankruptcy

24   had been filed and the debtor did not have the funds. Additionally, junior to the OIDC claim is the

25   claim of Siemens Financial Services. However, the claim was eliminated when the property reverted

     to OIDC.

     TRUSTEE’S MOTION FOR AN ORDER OF SALE
     OF REAL PROPERTY OF THE ESTATE FREE                                    THE LIVESEY LAW FIRM
                                                                            600 Stewart Street, Suite 1908
     AND CLEAR OF LIENS AND ENCUMBRANCES                                    Seattle, WA 98101
     190415aMot Page 1                                                      (206) 441-0826
      Case 17-14525-TWD           Doc 24     Filed 04/16/19     Ent. 04/16/19 15:02:48       Pg. 1 of 3
1           The debtor also owns five additional lots contiguous to the Reverter Tract. The legal

2    descriptions are attached to the Declaration of Livesey on file herein. They comprise approximately

3    60 acres. According to the tax accessed values provided by Ector County, the lots have a combined

4    assessed value of approximately $17,000.

5           OIDC has agreed to purchase the 60 contiguous acres and any remaining interest the

6    bankruptcy estate may have in the Reverter Tract for $25,000. OIDC will also pay all of the costs

7    to close the transaction, other than the bankruptcy estate’s administrative expenses related to the

8    sale. The sale should net the estate $25,000.

9           The sale will be free and clear of liens and encumbrances. The property will be “as-is,

10   where-is” with no warranties or representations by the trustee. However, notwithstanding anything

11   to the contrary in any purchase or sale agreement or the Order Approving Sale under

12   11 U.S.C. § 363, nothing in this Motion or the Order or related documents will discharge, release,

13   preclude or enjoin: (i) any liability to any governmental unit as defined in 11 U.S.C. § 101(27)

14   (“Governmental Unit”) that is not a “claim” as defined in 11 U.S.C. § 101(5) (“Claim”); (ii) any

15   Claim of a Governmental Unit arising on or after the Sale Date; (iii) any liability to a Governmental

16   Unit under police and regulatory statutes or regulations that any entity would be subject to as the

17   owner or operator of property after the Sale Date; (iv) any liability to a Governmental Unit on the

18   part of any Person other than the Debtor. Nor shall anything in the Order enjoin or otherwise bar

19   a Governmental Unit from asserting or enforcing, outside this Court, any liability described in the

20   preceding sentence. Nothing in the Order or related documents will authorize the transfer or

21   assignment of any governmental (a) license, (b) permit, (c) registration, (d) authorization or (e)

22   approval, or the discontinuation of any obligation thereunder, without compliance with all applicable

23   legal requirements and approvals under police or regulatory law (including but not limited to all

24   applicable requirements of the Texas Commission on Environmental Quality). Nothing in the Order

25   will divest any tribunal of any jurisdiction it may have under police or regulatory law to interpret

     the Order or to adjudicate any defense asserted under the Order.

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1           The trustee has determined that this sale is in the best interest of the estate. See Declaration

2    of Nancy James. The property has very limited value to the creditors. The Reverter Tract is

3    arguably no longer property of the estate. Without the Reverter Tract the remaining lots are

4    essentially valueless. The trustee previously filed a motion to abandon the real property, but

5    withdrew the motion when OIDC expressed its interest in purchasing the property.

6           WHEREFORE, the trustee prays for an order accordingly.

7           RESPECTFULLY SUBMITTED this 16th day of April, 2019.

8                                                  THE LIVESEY LAW FIRM

9
                                                           /S/ Rory C. Livesey
10
                                                   Rory C. Livesey, WSBA #17601
11                                                 Attorney for Trustee

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